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1     BOIES SCHILLER FLEXNER LLP                    SUSMAN GODFREY L.L.P.
      David Boies (admitted pro hac vice)           Bill Carmody (admitted pro hac vice)
2     333 Main Street                               Shawn J. Rabin (admitted pro hac vice)
      Armonk, NY 10504                              Steven M. Shepard (admitted pro hac vice)
3
      Tel: (914) 749-8200                           Alexander Frawley (admitted pro hac vice)
4     dboies@bsfllp.com                             Ryan Sila (admitted pro hac vice)
                                                    1301 Avenue of the Americas, 32nd Floor
      Mark C. Mao, CA Bar No. 236165
5                                                   New York, NY 10019
      Beko Reblitz-Richardson, CA Bar No. 238027
                                                    Tel.: (212) 336-8330
6     44 Montgomery St., 41st Floor
                                                    bcarmody@susmangodfrey.com
      San Francisco, CA 94104
7                                                   srabin@susmangodfrey.com
      Tel.: (415) 293-6800
                                                    sshepard@susmangodfrey.com
      mmao@bsfllp.com
8                                                   afrawley@susmangodfrey.com
      brichardson@bsfllp.com
                                                    rsila@susmangodfrey.com
9     James Lee (admitted pro hac vice)
                                                    Amanda K. Bonn, CA Bar No. 270891
      Rossana Baeza (admitted pro hac vice)
10                                                  1900 Avenue of the Stars, Suite 1400
      100 SE 2nd St., 28th Floor
                                                    Los Angeles, CA 90067
11    Miami, FL 33131
                                                    Tel.: (310) 789-3100
      Tel.: (305) 539-8400
                                                    abonn@susmangodfrey.com
12    jlee@bsfllp.com
      rbaeza@bsfllp.com                             MORGAN & MORGAN
13                                                  John A. Yanchunis (admitted pro hac vice)
      Alison L. Anderson, CA Bar No. 275334
                                                    Ryan J. McGee (admitted pro hac vice)
14    M. Logan Wright, CA Bar No. 349004
                                                    Michael F. Ram, CA Bar No. 104805
      725 S Figueroa St., 31st Floor
15                                                  201 N. Franklin Street, 7th Floor
      Los Angeles, CA 90017
                                                    Tampa, FL 33602
      Tel.: (213) 995-5720
16                                                  Tel.: (813) 223-5505
      alanderson@bsfllp.com
                                                    jyanchunis@forthepeople.com
17    mwright@bsfllp.com
                                                    rmcgee@forthepeople.com
                                                    mram@forthepeople.com
18
                               UNITED STATES DISTRICT COURT
19                           NORTHERN DISTRICT OF CALIFORNIA
20
      ANIBAL RODRIGUEZ, SAL CATALDO,               Case No.: 3:20-cv-04688-RS
21    JULIAN SANTIAGO, and SUSAN LYNN
      HARVEY individually and on behalf of all     [PROPOSED] ORDER GRANTING
22    other similarly situated,                    PLAINTIFFS’ MOTION TO SEAL
                                                   PORTIONS OF MOTION FOR CLASS
23                 Plaintiffs,                     CERTIFICATION
24
       vs.                                         Judge: Hon. Richard Seeborg
25                                                 Courtroom 3 – 17th Floor
       GOOGLE LLC,                                 Date: October 5, 2023
26                                                 Time: 1:30 p.m.
                   Defendant.
27

28
                                       [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO SEAL
                                                PORTIONS OF MOTION FOR CLASS CERTIFICATION
                                                                      Case No. 3:20-cv-04688-RS
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1           Before the Court is Plaintiffs’ Administrative Motion to Seal Portions of their Motion for
2    Class Certification (the “Motion”). Having considered the Motion, supporting declaration, and
3    other papers on file, and good cause having been shown, the Court ORDERS as follows:
4
             Document or Portion of         Evidence Offered in          Ruling
5            Document Sought to Be          Support of Sealing
             Sealed
6            March 22, 2023 Expert          McGee Declaration ¶¶ 5–      Granted.
             Report of Plaintiffs’ Expert   8
7            Jonathan Hochman
8            (“Hochman Report”):
             Portions highlighted in teal
9            in paragraphs 149, 152, 182,
             191, 192, 244, and 246
10           Hochman Report Appendix        McGee Declaration ¶¶ 5–      Granted.
             A (entirety)                   8
11
             Hochman Report Appendix        McGee Declaration ¶¶ 5–      Granted.
12           B.1 (entirety)                 8
             Hochman Report Appendix        McGee Declaration ¶¶ 5–      Granted.
13           B.2 (entirety)                 8
             Hochman Report Appendix        McGee Declaration ¶¶ 5–      Granted.
14           C                              8
15           Hochman Report Appendix        McGee Declaration ¶¶ 5–      Granted.
             D                              8
16           Hochman Report Appendix        McGee Declaration ¶¶ 5–      Granted.
             K                              8
17

18
            IT IS SO ORDERED.
19

20
     DATED: ________________________            _____________________________________
21
                                                 Honorable Richard Seeborg
22                                               United States Chief District Judge

23

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28
                                        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO SEAL
                                                 PORTIONS OF MOTION FOR CLASS CERTIFICATION
                                                                       Case No. 3:20-cv-04688-RS
